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Lonnie E. Larson UNITED STATES DISTRICT COURT

lace C DISTRICT OF HAWAII

2035 Holowai Place C-8 eas

Wailuku, HI. 96793 il. MAK see gr
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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF HAWAII

 

LONNIE E. LARSON

 

Plaintiff,
Vv. oo. ,
HAWAII PUBLIC HOUSING AUTHORITY ey¥i5 0006 2 ACK
~ 1002 NORTH SCHOOL STREET Case No. BMK
HONOLULU, HAWAII 96817

HAWAII PUBLIC HOUSING AUTHORITY
2015 HOLOWAI PLACE COMPLAINT
WAILUKU, HAWAII 96793

Defendant

 

 

PARTIES, JURISDICTION AND VENUE
1.) Plaintiff is a resident of the State of Hawaii.

2.) Defendants are State Agencies with State of Hawaii and organized, qualified to

do business and existing under the laws of the State of Hawaii whose principal
 

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place of businesses are located at 1002 North School Street , Honolulu, Hawaii
96817 and 2015 Holowai Place , Wailuku, Hawaii 96793.

3.) Defendants receive Federal and State Funding and are therefore responsible for
administering and adhering to laws, guidelines of the Hawaii Housing Authority
of the State of Hawaii , the American Disability Act of 1990 for the Department
of Justice and Fair Housing Act of 1988 for the Department of Housing and Urban
Development.

4.) The Court has subject matter jurisdiction over this lawsuit pursuant to 28
U.S.C. § 1331 because Plaintiff's American with Disabilities Act claims present s a
Federal question against the Plaintiff.

5.) This Court has subject jurisdiction over this lawsuit pursuant to 28 U.S.C. §
1332 (a) (1) because Plaintiff and Defendant are citizens of the same state, the
amount in controversy is $75,000.00 including interest and costs .

6.) This Court has jurisdiction to award declaratory relief pursuant to 28 U.S.C. §
2201. This Court has jurisdiction to award injunctive release 28 U.S.C §. 2202.
This Court has ancillary and or supplemental jurisdiction pursuant to 28 U.S.C.

§ 1367 (a) over Plaintiff's state law causes of action.

7.) Venue is proper in this district pursuant to 28 U.S.C. § 1391(a)()

because the causes of action arose in this district, Defendant did business within
this district and pursuant to 28 U.S.C. § 124(c)(3).

Plaintiff is a resident of the district. Defendants committed tortious acts in this

district and in the district of Hawaii.

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FACTUAL ALLEGATIONS

8.) Plaintiff is a resident of the State of Hawaii and permanently disabled
with neurological pain, migraine headaches, balance issues, heart disease,
depression, post traumatic syndrome, sleep apia, and he also utilizes
medically certified mobility service dog. He was determined by Social
Security Administration from a lightning accident of Feb. 26,2002 as being
permanently disabled by their criteria, Veteran of Armed Services of United
States of America and lives in the Hawaii Housing Authority property in a

disabled rental unit at 2035 Holowai Place C-8, Wailuku, Hawaii 96793 since
May 2012. (Exhibit # 1 )

9.) Defendant has discriminated against the Plaintiff under the American Disability
Act of 1990 and Fair Housing Act 1988 for failure to provide “habitable
conditions” and “reasonable accommodations” which prohibits discrimination on

the basis of race, color, religion, disabilities , financial status or national origin.

10.) The Hawaii Housing Authority is sued for their untimely and

unresponsive conduct for not complying with “habitable conditions” of the

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property and “reasonable accommodation" reasons of legal cause for of personal

injury causing unhealthy conditions, denial of air conditioning , sleep
deprivation, non-compliance with enforcement of State of Hawaii Non- Smoking
Law and excessive stress related illnesses and emotional damages to the

Plaintiff.

11.) The Hawaii Public Housing Authority provides "reasonable accommodations"
that are reasonable and necessary for persons who have a physical or emotional
impairment which "substantially limits one or more major life activities”, when
accommodation necessary to ameliorate the limiting effects of the individual's
disability, or to provide the disabled individual an equal opportunity to live in

the housing unit or access to common areas. HUD/DOJ interprets "Substantially
Limits" as the limitation that is significant to a large degree. Courts have

interpreted major life activities that are of central importance to daily life .
These issues are related to the Plaintiffs major life activities are the result

as per the hazardous, defective and unsafe conditions relating to denial of air-

conditioning , the uncontrolled noise levels and of unsanitary health conditions.

12.) Defendant has been failed in accepting a “reasonable accommodation”

request for air-conditioning , enforcing non-smoking on the premises and loud

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continual excessive noise during daytime /nighttime caused by over( 20-30 )

twenty - thirty feral animals of chickens, which are increasing and (10) ten
feral cats, (2) which creates inappropriate related noses and unsanitary conditions

on the Hawaii Public Authority property for over ( 1 year ) cats. (Exhibit # 2 )
13.) The Hawaii Public Housing Authority property is also not zoned agriculturally

in Maui County for raising and producing chickens, cats or any domestic animals
These feral animals are not owned by anyone renting in the Hawaii Public Housing

Authority property.

14.) The Defendant have operated, maintained, collected rent from the
Plaintiff on said premises in a mode of operation where risk of

harm was foreseeable and failed to enforce the rules posted on signs and

“inhabitable conditions “and to prevent the harm and/or to protect

Plaintiff who has rented a disabled apartment unit on May 2012. (Exhibit # 3)

15.) Defendants knew or, with reasonable care, should have known of the

unhealthy conditions and were negligent in denial of “reasonable

accommodations” for air-conditioning and creating or allowing such violations

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of unhealthy conditions to exist for allowing public nuisance, for failing to

correct and protect these conditions to the Plaintiff. (Exhibit # 4 )

16.) The Defendant violated Hawaii Authority Housing rules, laws, standards,
codes and/or ordinances and are therefore negligent, strictly liable for breach
of express and/or implied warranties and are negligent per se; and/or

17.) Their acts or omission were a legal or factual cause of

Plaintiff's aggravated unhealthy conditions of chronic pain, depression, sleep

deprivation, injuries, fatigue excessive stress and illnesses.

18.) The Defendants, jointly and/or severally had a duty to:

A.) Maintain and provide a safe, healthy, quiet and clean premises for disabled
patrons;

B.) Not create or allow to exist an unreasonable risk of harm ;

C.) Inspect the premises;

D.) Remove, remedy, guard and/or warn of any defects or hazards;

E.) Protect the health of the Plaintiff, tenants, workers and quests:

F.) Warrant safe and clean premises that are do not deteriorate or worsen;

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G.) Not create a public or health nuisance;

H.) Protect the Plaintiff from injuries and illnesses ;

I.) Prevent a foreseeable risk of injury to Plaintiff;

J.) Lessen the extent and severity to an injury to Plaintiff;
K.) Not enhance an injury to Plaintiff;

L.) Prevent feral animals, smoking tenants from causing harm or injury to the
Plaintiff;

M.) Anticipate actions the may cause harm to the Plaintiff;

N. ) Provide “reasonable accommodation” requests for Plaintiff;

19.) Defendants , jointly and severally, breached all or some of the duties

and warranties set forth above, and are there by negligent per se and/or liable.
20.) The Defendant previously did not allow feral cats or chickens to live on
the property and cause unsanitary conditions and/or noise pollution and was
responsible and respective of the Plaintiff's disabilities at the time the Plaintiff
moved into his apartment in May 2012.

21.) The Plaintiff has reported the smoking by other tenants as the new State
of Hawaii ACT 91 SLH 2014 Jaw of July 2014 non-smoking was in effect and

signage designated were erected on the premises. (Exhibit # 5)
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22.) The Plaintiff reported feral animal conditions previously and attempted to

assist in removal with suggestions regarding this matter for over 1 (one) year and
on December 15, 2014 to the project manager responded and has failed to

implement any removal plans that have reduced or correct the matter.

(Exhibit # 6 )

23.) Plaintiff's physician has noted the complaint of sleep deprivation from his
Patient from the feral chickens loud noise of calling all hours of the day and night.

(Exhibit # 7 )

24.) Plaintiff has denied for “reasonable accommodation” with Hawaii Housing
Authority and has provided medical documentation as per his physician and been

denied for air-conditioning. (Exhibits # 8 )

25.) Defendants committed tortious acts in the District of Hawaii by his actions
of violating not enforcing standards, codes, rules and laws and is therefore
negligent, strictly liable by these actions being legal cause for continuing
injuries, illnesses and damages relating to Plaintiff.

26.) The negligence of Defendants is a legal and factual cause of the continued
suffering and pain related to his injuries and personal welfare and medical

costs of the Plaintiff .
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27.) Defendants engaged where risk and harm was foreseeable and failed to

take reasonable accommodations of air conditioning of measures to prevent further

harm and/or protect the Plaintiff.

28.) Defendants by their mode of operation caused and/or contributed to harm to
the Plaintiff .

27.) Defendants jointly and severally breached all or some of the duties and
warranties set forth above and are therefore negligent per se, and /or liable .

29.) Defendant's actions are alleged herein have resulted in the will continue to
result in and will continue to result in irreparable injury for which Plaintiff has no

adequate remedy at law.

WHEREFORE, Plaintiff, demands judgment on his claims in the form of
declaratory, injunctive and monetary relief, including punitive damages in the total
sum of $75,000.01 and prejudgment interest and any other relief that is just and
proper .

Dated: March Zz 2015

Respectfully submitted,
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~ Lonnie Larson
Plaintiff, pro-se

This document was prepared with assistance as of my disabilities.
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